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7                             UNITED STATES DISTRICT COURT
8                          SOUTHERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,                       Case No.: 23-cr-02293-BTM
11                                      Plaintiff,
                                                     ORDER
12   v.
13   Jose Efrain MEDINA,
14                                   Defendant.
15
16         For good cause shown, Defendant Jose Efrain MEDINA’s unopposed motion to
17   modify his release conditions (ECF No. 35) is GRANTED IN PART AND DENIED IN
18   PART. Defendant’s request for travel to Mexico is DENIED. Defendant is permitted to
19   travel throughout the continental United States for work purposes only at the discretion of
20   Pretrial Services. The surety must file an acknowledgment prior to any travel, and
21   Defendant must provide Pretrial Services his travel itinerary prior to traveling on each
22   occasion. All other conditions remain as set.
23
24   Dated: December 12, 2023

25                                      HON. MICHELLE M. PETTIT
                                        U.S. Magistrate Judge
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